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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                     SAN ANTONIO DIVISION

TEXAS ASSOCIATION OF MONEY                         §
SERVICES BUSINESSES (TAMSB), ET Al.,               §
                                                   §
               Plaintiffs,                         §
                                                   §
V.                                                 §       CIVIL ACTION NO. SA-25-CA-00344-FB
                                                   §
PAM BONDI, Attorney General of                     §
the United States; SCOTT BESSENT,                  §
Secretary of the Treasury; UNITED                  §
STATES DEPARTMENT OF THE                           §
TREASURY; ANDREA GACKI,                            §
Director of the Financial Crimes                   §
Enforcement Network; FINANCIAL                     §
CRIMES ENFORCEMENT NETWORK,                        §
                                                   §
               Defendants.                         §

       ORDER REGARDING PLAINTIFFS’ OPPOSED MOTION TO EXTEND THE
       TEMPORARY RESTRAINING ORDER AND SET A BRIEFING SCHEDULE

       Before the Court is Plaintiffs’ Opposed Motion to Extend the Temporary Restraining Order and

Set a Briefing Schedule, filed on April 18, 2025. (Docket no. 21). The Court extended the temporary

restraining order in an Advisory filed on April 21, 2025. (Docket no. 26) (“Also, the Temporary

Restraining Order with a fourteen-day extension will expire on May 9, 2025. The Court finds good

cause exists for this extension to provide time to fully consider the various arguments and motions of

the parties. . . . To the extent necessary, the Court hopes, and expects, the same professional courtesy

to be extended to Plaintiffs by Defendants by not beginning enforcement of the subject GTO against

Plaintiffs on May 10, 2025.”). And, the Court entered an Order Setting Briefing Schedule (and Hearing

on Plaintiffs’ Motion for Preliminary Injunction) on April 28, 2025. (Docket no. 30). Having ruled on

Plaintiffs’ requests for relief, the Court is of the opinion that the motion can be dismissed as moot.
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      IT IS THEREFORE ORDERED that Plaintiffs’ Opposed Motion to Extend the Temporary

Restraining Order and Set a Briefing Schedule (docket no. 21) is DISMISSED as MOOT.

      It is so ORDERED.

      SIGNED this 7th day of May, 2025.


                                     ________________________________________________
                                    FRED BIERY
                                    UNITED STATES DISTRICT JUDGE




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